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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
      v.                                   ) Case No. 1:21-CR-118 (RCL)
                                           )
ERIC MUNCHEL and                           )
LISA MARIE EISENHART                       )
__________________________________________)

                     JOINT NOTICE OF SUPREME COURT RULING

       NOW COME the United States of America, via undersigned counsel, and Defendants

Eric Munchel and Lisa Eisenhart, via their respective undersigned counsel, and file this Notice as

requested in this Court’s January 26, 2024 Memorandum Order, ECF #264.

       The Order requires the parties to “contact the court within five days of the Supreme Court

issuing its decision in Fischer to schedule a status conference to address whether further

proceedings will be necessary.” Id. As this Court is no doubt aware, that Supreme Court

decision issued five days ago, in Fischer v. United States, --- U.S. ---, 2024 U.S. LEXIS 2880

(filed June 28, 2024), where a majority of the Supreme Court held that, “To prove a violation of

Section 1512(c)(2), the Government must establish that the defendant impaired the availability or

integrity for use in an official proceeding of records, documents, objects, or … other things used

in the proceeding, or attempted to do so.” Id. at *27. The Supreme Court remanded the case to

the D.C. Circuit for further proceedings.

       Defendants’ counsel can make themselves available for any status conference as needed,

although neither Defendant is affirmatively requesting any such conference at this time, since

this case is currently pending before the D.C. Circuit on appeal. It should also be noted that Mr.




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Munchel’s ability to participate in any such conference, if scheduled, would need to be

coordinated with the BOP institution where he is currently being housed.

       Defendants’ counsel have also reached out to Government counsel to determine their

position on this matter. Government’s counsel advises that they are also available for a status

conference as needed, but they are also not affirmatively requesting that one be scheduled as the

case is currently pending before the D.C. Circuit on appeal.

       Dated: July 3, 2024                           Respectfully submitted,

___/s/ Gregory S. Smith______________                          /s/ Rebekah E. Lederer
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  /s/
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